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                       UNITED STATES DISTRICT COURT

                                        DISTRICT OF MINNESOTA
                              334 WARREN E. BURGER FEDERAL BUILDING
                                     316 NORTH ROBERT STREET
                                   ST. PAUL, MINNESOTA 55101-1461

   CHAMBERS OF                                                                  Telephone (651) 848-1530
JEFFREY M. BRYAN                                                 E-mail Bryan_Chambers@mnd.uscourts.gov




February 21, 2025

Haishan Yang
2136 Ford Parkway
# 5244
Saint Paul, MN 55116


       RE:    Yang v. Neprash et al
              Case No. 25-CV-00089 (JMB/SGE)

Dear Mr. Yang:

        Unlike criminal cases where there is a legal right to counsel, a person involved in a
civil case has no legal right to have the Court appoint a lawyer. However, the Minnesota
Chapter of the Federal Bar Association (FBA) operates a program that tries to connect
unrepresented individuals who receive a Court referral to a program with volunteer lawyers
who may agree to donate time to talk about their cases. The program is called the Pro Se
Project. The Court is referring you to the Pro Se Project, and you may be able to talk with
a lawyer at no cost to you.
       Your participation in the Pro Se Project is voluntary. If you would like to
participate, the Pro Se Project Coordinator, Jacqueline Bailey, will try to put you in contact
with an attorney who will provide you with a legal opinion about your claims or defenses
and give you advice on how to proceed. The volunteer lawyer is not expected to represent
you.
        Regardless of whether you participate, every case in Federal Court is governed by
the Federal Rules of Civil Procedure and the Local Rules of the United States District Court
for the District of Minnesota. Just as a lawyer would, you will need to follow these rules.
You will find information to help unrepresented parties understand the basic procedures of
the Court on the “Representing Yourself (Pro Se)” page of the Court’s website at
www.mnd.uscourts.gov.


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      If you would like to participate in the Pro Se Project, you must tell the Pro Se
Coordinator, Ms. Bailey, whose contact information appears below. Ms. Bailey will
inform the Court of your decision.


      Jacqueline Bailey
      P.O. Box 24378
      Minneapolis, MN 55424
      612.965.3711
      coordinator@proseproject.org


Sincerely,


Jeffrey M. Bryan
United States District Judge
District of Minnesota


cc: Jacqueline Bailey, Pro Se Project Coordinator




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